Case 2:05-cr-20250-.]PI\/| Document 63 Filed 08/29/05 Page 1 of 3 Page|D 7

IN THE UNITED STATES DISTRICT COURT

 

HEDEL". ____LB
FOR THE wESTERN DISTRICT OF TENNESSEE
N
wESTERN DIVISIO USAUG 29 AH 6153
UNITED STATES oF AMERICA w O`FTN,MEMPHS

Plaintiff,

Criminal NoC§Zé§;;Z§§E:_#Ml

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%/LIL M/ ) (60-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28. 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

Thfs document entered on the docket sheet in comp||anca
with Hu|e 55 and/or 32(b) FRCrP on " "

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30 oRDERED this 26th day of August, 2005

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

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f%1. CH’A?c/H

Assistant United States Attorney

 

 

 

 

 

 

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

